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                          UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

DARELTECH, LLC,                               §
                                              §
                      Plaintiff,              §     Civil Case No. 4:18-cv-00702-ALM
                                              §
               v.                             §
                                              §
SAMSUNG ELECTRONICS CO., LTD.                 §
and SAMSUNG ELECTRONICS                       §
AMERICA, INC.                                 §
                                              §
                      Defendants.             §

                    DEFENDANTS’ NOTICE OF INITIAL DISCLOSURES


       Defendants Samsung Electronics America, Inc. and Samsung Electronics Co. Ltd notify

the Court that, on August 1, 2019, they made Initial Disclosures as required by Fed. R. Civ. P.

26(a)(1).


                                                    Respectfully submitted,


                                                            /s/ Roger Sanders
                                                    Roger D. Sanders
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                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the above and foregoing document has
been forwarded to all parties to this matter via the electronic delivery system of the Eastern
District of Texas, Sherman Division.

       So certified on this 2nd day of August, 2019.

                                                             /s/ Roger Sanders
                                                       Roger D. Sanders
